                                                                   FILED: April 7, 2025

                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


                                      No. 25-1282
                                 (8:25-cv-00430-DLB)


AMERICAN    FEDERATION    OF   TEACHERS;   INTERNATIONAL
ASSOCIATION OF MACHINISTS AND AEROSPACE WORKERS;
NATIONAL ACTIVE AND RETIRED FEDERAL EMPLOYEES; NATIONAL
FEDERATION OF FEDERAL EMPLOYEES; DONALD MARTINEZ; JASON
CAIN; CLIFFORD GRAMBO; THOMAS FANT; CHRISTOPHER PURDY;
KRISTOFER GOLDSMITH; INTERNATIONAL       FEDERATION OF
PROFESSIONAL & TECHNICAL ENGINEERS,

                    Plaintiffs – Appellees,

             v.

SCOTT BESSENT, in his official capacity as Secretary of the Treasury; UNITED
STATES DEPARTMENT OF THE TREASURY; CHARLES EZELL, in his official
capacity as the Acting Director of the Office of Personnel Management; LINDA
MCMAHON, in her official capacity as the Secretary of Education; UNITED
STATES OFFICE OF PERSONNEL MANAGEMENT; UNITED STATES
DEPARTMENT OF EDUCATION,

                    Defendants – Appellants.


                                        ORDER


      The Court, having granted the motion for stay pending appeal, hereby orders the

following briefing schedule.

      Appellants shall file their opening brief no later than 5:00 p.m. on April 14, 2025.

Appellees shall file their response brief no later than 5:00 p.m. on April 21, 2025.
Appellants’ reply brief shall be due no later than 5:00 p.m. on April 25, 2025. The Court

will hear oral argument in Richmond at 3:00 p.m. on May 5, 2025.

      Entered at the direction of Judge King with the concurrence of Judge Agee and

Judge Richardson.

                                         For the Court

                                         /s/ Nwamaka Anowi, Clerk
